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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION




   UNITED STATES OF AMERICA

   v.                                                 Case No. 8:03-CR-445-T-23EAJ
                                                               8:05-CV-1432-T-23EAJ
   ANTONIO OBANDO ARAUJO
                                                 /


                                            ORDER

          Araujo’s motion to vacate sentence pursuant to 28 U.S.C. § 2255 (Doc. 1)

   challenges the validity of his 135-month sentence imposed pursuant to a plea

   agreement to the charge of conspiracy to possess with intent to distribute five kilograms

   or more of cocaine while aboard a vessel. Araujo contends that his counsel was

   ineffective for not filing an appeal. The motion is without merit.

          A motion to vacate must be reviewed prior to service on the United States. See

   Rule 4 of the Rules Governing § 2255 Cases. If the “motion and the files and records of

   the case conclusively show that the prisoner is entitled to no relief,” the motion is

   properly denied without a response from the United States. 28 U.S.C. § 2255. See

   also United States v. Deal, 678 F.2d 1062, 1065 (11th Cir. 1982) (a “§ 2255 hearing is

   not required if ‘the motion and the files and records of the case conclusively show that

   the prisoner is entitled to no relief’”) (citation omitted); Wright v. United States, 624 F.2d
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   557, 558 (5th Cir. 1980)1 (affirming district court’s summary dismissal of § 2255 motion

   “[b]ecause in this case the record, uncontradicted by [defendant], shows that he is not

   entitled to relief.”); Hart v. United States, 565 F.2d 360, 361 (5th Cir. 1978) (“Rule 4(b)

   of § 2255 allows the district court to summarily dismiss the motion and notify the movant

   if ‘it plainly appears from the face of the motion and any annexed exhibits and the prior

   proceedings in the case that the movant is not entitled to relief.’”).

           Araujo’s conviction and sentence are based on a negotiated plea. The Plea

   Agreement (Doc. 65) specifically states that Araujo “expressly waives the right to appeal

   defendant’s sentence, directly or collaterally, on any ground except for an upward

   departure by the sentencing judge or a sentence above the statutory maximum or a

   sentence in violation of the law apart from the sentencing guidelines. . . .” Plea

   Agreement, ¶ 5 at 11 (Doc. 65). Araujo was sentenced to the guidelines minimum of

   135 months imprisonment, which was less than the statutorily authorized maximum of

   40 years and was not an upward departure. Consequently, Araujo’s waiver of his right

   to challenge the guidelines sentence is controlling.

           Counsel is not ineffective for failing to file a notice of appeal, even when asked to

   do so, if the plea agreement contains an appeal waiver. See Montemoino v. United

   States, 68 F.3d 416, 417 (11th Cir. 1995) (“Absent an express waiver of the right to

   appeal his sentence, a defendant who pleads guilty and is sentenced under the

   Guidelines has a right to direct appeal of his sentence.”) (emphasis added), and Roe v.


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                Fifth Circuit decisions handed down prior to October 1, 1981, are binding precedent upon
    this Court. Bonner v. City of Pritchard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).

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   Flores-Ortega, 528 U.S. 470, 480 & 489 (2000) (“Even in cases when the defendant

   pleads guilty, the court must consider such factors as whether the defendant received

   the sentence bargained for as part of the plea and whether the plea expressly reserved

   or waived some or all appeal rights.”) (“Finally, of course, there is no claim here that

   Flores-Ortega waived his right to appeal as part of his plea agreement . . . .” Souter, J.,

   dissenting). The plea agreement was specific and clear, and Araujo received the

   sentence for which he bargained. Consequently, Araujo’s claim that defense counsel

   rendered ineffective assistance for not filing a notice of appeal is without merit.

            Accordingly, the motion to vacate sentence pursuant to 28 U.S.C. § 2255

   (Doc. 1) is DENIED. The clerk shall ENTER A JUDGMENT against Araujo and CLOSE

   this action.

            ORDERED in Tampa, Florida, on August 3, 2005.




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